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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



JEFFREY MURRAY,                     )
                                    )
                  Plaintiff,        )                 ECase No. 5:02-cv-154
                                    )
v.                                  )                 Honorable Robert Holmes Bell
                                    )
WILLIAM REED et al.,                )
                                    )
                  Defendants.       )
____________________________________)

                                             OPINION

               This is a civil rights action brought by a state prisoner pursuant to 42 U.S.C. § 1983.

The Court has granted Plaintiff leave to proceed in forma pauperis. Under the Prison Litigation

Reform Act, PUB. L. NO . 104-134, 110 STAT . 1321 (1996) (“PLRA”), the Court is required to dismiss

any prisoner action brought under federal law if the complaint is frivolous, malicious, fails to state

a claim upon which relief can be granted, or seeks monetary relief from a defendant immune from

such relief. 42 U.S.C. § 1997e(c); 28 U.S.C. §§ 1915(e)(2), 1915A. The Court must read Plaintiff’s

pro se complaint indulgently, see Haines v. Kerner, 404 U.S. 519, 520 (1972), and accept Plaintiff’s

allegations as true, unless they are clearly irrational or wholly incredible. Denton v. Hernandez, 504

U.S. 25, 33 (1992). Applying these standards, the Court will dismiss Plaintiff’s complaint as

frivolous because it is barred by res judicata.
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                                                  Discussion

                I.       Factual allegations

                Plaintiff is currently incarcerated in the Bellamy Creek Correctional Facility.

Plaintiff’s complaint does not concern the conditions of confinement; rather, Plaintiff claims that he

has been denied parole in violation of his due process rights. In his pro se complaint, Plaintiff sues

the following members of the Michigan Parole Board: William Reed, Marianne Samper, Maurice

Armstrong, William Hudson, and Stephen H. Marschke. Plaintiff also names (unknown) McKee,

Warden at the Standish Maximum Correctional Facility1; (unknown) Carpenter, Grievance

Corrdinator at Standish; Bill Martin, former Director of the Michigan Department of Corrections

(MDOC); and Michael Powell, Manager of Prison Affairs for the MDOC.

                Plaintiff claims that Defendants Reed and Samper denied his parole on October 29,

2001. He was given a continuance of twenty-four months. According to Plaintiff, the parole board

gave the following reasons for denying parole: (1) assaultive offense; (2) prior criminal record;

(3) major misconducts; (4) high statistical assaultive risk; (5) weapon or threat of a weapon; (6) more

than two victims threatened or involved; (7) jail sentence served; (8) felony convictions;

(9) assaultive felony convictions; (10) probation failures; (11) on probation when the instant offense

took place; and (12) juvenile commitments. Plaintiff claims a multitude of errors on the part of the

parole board in denying his parole that constituted a violation of his due process rights. First,

Plaintiff claims he was denied parole without an interview. Plaintiff claims that without holding an

interview, the parole board members were unable to properly evaluate his physical condition, mental

health and social attitude. Plaintiff also disputes the veracity or accuracy of all of the reasons given


       1
        Prior to incarceration at Bellamy Creek, Plaintiff was incarcerated at Standish.

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by the parole board for denying his parole listed above, except (2), (7), (8), (10) and (11). In

addition, Plaintiff alleges that the parole board made errors in scoring the parole guidelines. He

further contends that the parole board improperly considered old misconduct convictions and his

prior criminal record in making their decision.

                Plaintiff also raises claims concerning the grievance process. Apparently, Plaintiff

filed a grievance concerning the denial of his parole. Plaintiff asserts that Defendants Carpenter and

McKee violated MDOC policy and his constitutional rights when they failed to direct Plaintiff’s Step

II grievance to the parole board chairperson. According to MICH. DEP’T OF CORR . Policy Directive

03.02.130(EE), the parole board chairperson should be the Step II respondent for grievances

involving the parole board. For relief, Plaintiff seeks compensatory damages of $100,000 from each

of the Defendants. Plaintiff also seeks injunctive relief, including his release on parole.

                II.     Res Judicata

                Plaintiff brought a prior civil rights action raising identical claims against the same

parties. See Murray v. Reed, 1:02-cv-438 (W.D. Mich.). His action was dismissed by District Judge

Richard A. Enslen for failure to state a claim on July 10, 2002. That judgment was unappealed and

the time for seeking appeal has expired. The doctrine of res judicata encompasses both claim

preclusion and issue preclusion or collateral estoppel. J.Z.G. Res., Inc. v. Shelby Ins. Co., 84 F.3d

211, 214 (6th Cir. 1996). The general rule of claim preclusion, or true res judicata, is that a valid

and final judgment on a claim precludes a second action on that claim or any part of it. Id. Claim

preclusion applies not only to bar the parties from re-litigating issues that were actually litigated but

also to bar them from relitigating issues that could have been raised in an earlier action. Id.; see also

Commissioner v. Sunnen, 333 U.S. 591, 597 (1948). It is well settled that a dismissal for failure to


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state a claim constitutes an adjudication on the merits for res judicata purposes. See Federated Dept.

Stores, Inc. v. Moitie, 452 U.S. 394, 399 n.3 (1981); Randles v. Gregart, 965 F.2d 90, 93 (6th Cir.

1992) (per curiam);. Plaintiff is attempting to raise the precise claims that were the subject of a prior

unsuccessful suit against the same Defendants. Accordingly, his current lawsuit is barred by the

doctrine of res judicata.

                A complaint may be dismissed as frivolous if the claims lack an arguable or rational

basis in law or fact. See Neitzke v. Williams, 490 U.S. 319, 325 (1989). Where a particular claim

fails to assert, and cannot assert under the circumstances, the required elements of a particular cause

of action, it does not present an arguable or rational basis in law or fact and should be dismissed.

Id. Because Plaintiff’s action is barred by the doctrine of res judicata, it lacks an arguable basis in

law. Therefore, Plaintiff action will be dismissed as frivolous. See Taylor v. Reynolds, No. 01-

5059, 2001 WL 1450693, at *1 (6th Cir. Nov. 8, 2001) (district court properly dismissed as frivolous

prisoner civil rights action that was barred by the doctrine of res judicata), cert. denied, 122 S. Ct.

2365 (2002); Jackson v. Kinkela, No. 98-3551, 1999 WL 623672, ay *1 (6th Cir. Aug. 10, 1999)

(same).

                                              Conclusion

                Having conducted the review now required by the Prison Litigation Reform Act, the

Court determines that Plaintiff’s action is frivolous and will therefore be dismissed pursuant to 28

U.S.C. §§ 1915(e)(2), 1915A(b); 42 U.S.C. § 1997e(c).

                The Court must next decide whether an appeal of this action would be in good faith

within the meaning of 28 U.S.C. § 1915(a)(3). See McGore v. Wrigglesworth, 114 F.3d 601, 611

(6th Cir. 1997). For the same reasons that the Court dismisses the action, the Court discerns no


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good-faith basis for an appeal. Should Plaintiff appeal this decision, the Court will assess the $105

appellate filing fee pursuant to § 1915(b)(1), see McGore, 114 F.3d at 610-11, unless Plaintiff is

barred from proceeding in forma pauperis, e.g., by the “three-strikes” rule of § 1915(g). If he is

barred, he will be required to pay the $105 appellate filing fee in one lump sum.

               This is a dismissal as described by 28 U.S.C. § 1915(g).

               A Judgment consistent with this Opinion will be entered.

APPROVED FOR E-FILING:



Date:     October 25, 2002                     /s/ Robert H olmes B ell
                                              ROBERT HOLMES BELL
                                              CHIEF UNITED STATES DISTRICT JUDGE




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